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                       UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION

IN RE:
BARBARA ELLEN GOODRICH                              CASE NO 18-10135-KKS
                                                    CHAPTER: 7

            DEBTOR(S).
__________________________/


            ORDER GRANTING FIRST PALMETTO BANK MOTION FOR IN
               REM RELIEF FROM THE AUTOMATIC STAY (DE 40)

       THIS CASE came before the Court on the Motion for Relief from the Automatic Stay

filed First Palmetto Bank. (“Movant”) on November 19, 2018 (DE 40). No party filed an

objection within the proscribed time period; the Court considers the matter unopposed. It is:

ORDERED:
       1.      The Motion is GRANTED.

       2.      The automatic stay arising by reason of 11 U.S.C. §362 of the Bankruptcy Code is

terminated as to Movant’s interest in the following property:
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               AKA: 1090 Myrtle Drive, Santee, South Carolina 29142

       3.      The automatic stay is modified to allow the Movant to complete in rem relief to

take any and all steps necessary to exercise any and all rights it may have in the collateral, to

gain possession of said collateral, to have such other and further in rem relief as is just, but the

Movant shall not (contingent upon the Debtor receiving a discharge in this case) obtain in

personam relief against the Debtor.

       4.      The Movant made sufficient allegations and a request in the Motion to waive the

14-day stay requirement of Bankruptcy Rule 4001 (a)(3). No objection being raised, the

automatic stay shall be lifted immediately upon execution of this order.



   DONE and ORDERED on ________________________________.
                        December 17, 2018




                                                       Karen K. Specie
                                                       United States Bankruptcy Judge



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Attorney Jeffrey Fraser, Esq. is directed to serve a copy of this order on interested parties and file
a certificate of service within 3 business days of the entry of the order.


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Trustee
Theresa M. Bender
P.O. Box 14557
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U.S. Trustee
United States Trustee
110 E. Park Avenue
Suite 128
Tallahassee, FL 32301

This order was prepared by Jeffrey Fraser, Esq.




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